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                   EXHIBIT 2
             Case 1:16-cv-02227-DLF             Document 207-2          Filed 01/17/25       Page 2 of 2
Message
From:         Brandon Fleener [bfleener@APTMetrics.com]
Sent:         12/5/2016 3:02:49 PM
To:           Lamont.Virgil@faa.gov
Subject:      RE: Job Analysis


Hi Lamont,

Legal has the final version of the report and has instructed us to have all technical report requests/distribution go
through them. I believe Humberto would be the best contact for you to reach out to on this particular report. Sorry for
the inconvenience.

Thank you,

Brandon Fleener, Ph.D.
Associate Director
APTMetrics
1007 Church Street, Suite 308
Evanston, IL 60201
Tel: (847) 864-2126
Direct: (203) 202-2413
Fax: (203) 655-8288
bfleener APTMetrics. com
www.APTMetrics. corn

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From: Lamont.Virgil@faa.gov [mailto:Lamont.Virgil@faa.gov]
Sent: Monday, December 05, 2016 1:55 PM
To: Brandon Fleener
Subject: Job Analysis

Brandon,

Trying to ensure I have all the records as Rickie has moved on and need to get a copy of the job analyses
completed for the ATC position, post-barrier analysis. Can you send me a copy?

Thanks,
Lamont

Lamont H. Virgil
Principal Deputy Director (AHF-2)
Office of Human Resource Services
Federal Aviation Administration (FAA)
800 Independence Ave. SW
Washington DC, 20591
Office. (202) 267-9817 1 Cell. 202-407-1333 1 Fax. (202) 267-8330




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